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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    VICTOR M. CHAVEZ, Bar #113752
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Counsel for Defendant
6    GARY LEE PASSMORE
7
8                              IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 )   Case No. 1:15-cr-00288 LJO-SKO
                                                )
12                     Plaintiff,               )   STIPULATION TO CONTINUE
                                                )   SENTENCING HEARING; ORDER
13           vs.                                )
                                                )
14    GARY LEE PASSMORE,                        )
                                                )   DATE: May 21, 2018
15                                              )   TIME: 8:30 a.m.
                        Defendant.              )   JUDGE: Hon. Lawrence J. O’Neill
16                                              )
17
            IT IS HEREBY STIPULATED by and between the parties through their respective
18
     counsel, Assistant United States Attorney, Kathleen A. Servatius, counsel for plaintiff, and
19
     Assistant Federal Defender, Victor M. Chavez, counsel for defendant Gary Lee Passmore, that the
20
     sentencing hearing now set for April 16, 2018 be continued to May 21, 2018, at 8:30 a.m.
21
            Defense requests this stipulation because it needs more time which in turn necessitates
22
     additional time so that Probation may respond to informals and incorporate new medical
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     information into its report.
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     ///
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     ///
28


                                                          Respectfully submitted,
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1
                                                  MCGREGOR W. SCOTT
2                                                 United States Attorney
3
     Dated: April 3, 2018                         /s/ Kathleen A. Servatius
4                                                 KATHLEEN A. SERVATIUS
                                                  Assistant United States Attorney
5                                                 Attorney for Plaintiff
6
                                                  HEATHER E. WILLIAMS
7                                                 Federal Defender
8
     Dated: April 3, 2018                         /s/ Victor M. Chavez
9                                                 VICTOR M. CHAVEZ
                                                  Assistant Federal Defender
10                                                Attorney for Defendant
                                                  GARY LEE PASSMORE
11
12
13
14
                                         ORDER
15
16 IT IS SO ORDERED.
17       Dated:       April 4, 2018                /s/ Lawrence J. O’Neill _____
                                         UNITED STATES CHIEF DISTRICT JUDGE
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     PASSMORE: Stipulation to Continue
     Sentencing Hearing                       2
